                                             UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF OREGON

In re                                          )     Case No.        18-33749-pcm7
Jennifer R. Ramos                              )
                                               )
                                               )     Notice of Motion for Relief
                                               )     From (Check All That Apply):
                                               )        Automatic Stay in a Chapter 7/13 Case
                                               )        Chapter 13 Codebtor Stay
Debtor(s)                                      )


   1. YOU ARE NOTIFIED that a motion was filed by PennyMac Corporation                                     , the
       moving party, for (Check all that apply):
        Relief from the automatic stay protecting the debtor(s) and debtor's property, as provided by 11 U.S.C.
        § 362.
        Relief from the stay protecting the codebtor and codebtor’s property as provided by 11 U.S.C. § 1301.
        Codebtor’s name and service address are:
                                                                                                               .

   2. A copy of the motion is attached. The name and service address of the moving party's attorney (or moving
      party, if no attorney) are: Craig G. Russillo, Schwabe Williamson & Wyatt PC
      1211 SW 5th Street, 19th Floor, Portland, OR 97204 crussillo@schwabe.com                               .

   3. If you wish to resist the motion, you must, within 14 days of the service date shown below, file the following
      with the clerk at 1050 SW 6th Ave. #700, Portland OR 97204 or 405 E. 8th Ave. #2600, Eugene OR 97401:

            a. A written response that states the facts supporting the opposition to the motion by filling in the
               applicable “response” portions on a copy of the original motion. If the response will be electronically
               filed, the response must be prepared using the fillable pdf version of the original motion unless the
               motion was filed on paper and could not be electronically obtained from the movant; and

            b. A fully completed notice of hearing using Local Bankruptcy Form (LBF) 721, including the date and
               time of the hearing. Available hearing dates and times are posted at https://www.orb.uscourts.gov
               under the “Hearings” heading. If you do not have internet access, please call the court at (503) 326-
               1500 or (541) 431-4000 and press “0" to obtain the required forms and hearing information.

   4. Failure to Object or Serve Proper Notice of Hearing. If you fail to file a timely response and notice of
      hearing, then the automatic stay may expire as to the debtor(s) pursuant to 11 U.S.C. § 362(e) and the stay
      protecting the codebtor may expire pursuant to 11 U.S.C. § 1301(d), or the court may sign an order
      without further notice, submitted by the moving party on LBF 720.90, granting relief from the debtor stay
      and/or codebtor stay.




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   I certify that:

   (1) The motion was prepared using the fillable PDF version of LBF 720.80; and

   (2) On     02/28/2019        this notice and the motion were served on the debtor(s), any codebtor at the address
   listed above, the trustee, the U.S. Trustee, members of any committee elected pursuant to 11 U.S.C. § 705, and
   their respective attorneys.


                                             /s/ Craig G. Russillo       #973875
                                              Signature of Moving Party or Attorney                      (OSB#)




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                                            UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF OREGON

In re                                               ) Case No. 18-33749-pcm7
                                                    )
Jennifer R. Ramos
                                                    ) (CHECK ALL APPLICABLE BOXES)
                                                    )    Ch. 7/13 Motion for Relief from
                                                    )        DEBTOR        Chapter 13 CODEBTOR Stay
                                                    )    Filed by Creditor:
                                                    )
                                                    )    Response to Stay Motion filed by Respondent:
Debtor(s)                                           )

1. Debt, Default, Other Encumbrances, Description and Value of Collateral (To be completed by creditor)

    a. Description of collateral (car model, year, VIN, property address):
Real property commonly known as 19560 Hollygrape Street, Bend, OR 97702 and legally described as:
Lot Thirty-Three of River Canyon EStates, City of Bend, Deschutes County, Oregon


    b. Amount of debt: $        1,346,046.40 consisting of principal: $     727,783.18    ; interest: $          276,442.95    ; other:
        late fees, property tax and other fees, attorneys fees and costs under judgment: $341,820.27


    c. Description, amount and priority of other encumbrances on collateral. If not known, include applicable information from
       debtor’s schedules if available on PACER:
      Judgment in favor of HOA, Case no. CV140147, $5263.40 + 12% interest from 11/6/2014
      Judgment in favor of Nationstar, Case No. 11CV1133, $361,645.17 + int from 4/14/2016

        Total debt secured by collateral (total 1.b. + 1.c.): $                       .

    d. Value of collateral: $       $900,000        .
       Equity in collateral: $         0             , after deducting $                    liquidation costs.

    e. Current monthly payment: $               0          .    Debtor has not made a payment on the property since 2010
    f. If Chapter 13:

        (1) $                    postpetition default consisting of (e.g., $         payments, $       late charges, $        fees):


        (2) $                    prepetition default consisting of         amounts specified in proof of claim, or,    consisting of:




    g. If Chapter 7, total amount of default $                       .

RESPONSE (Identify specific items disputed and specify what you contend are the pertinent facts including why there is a
postpetition default, if applicable) (to be completed by respondent):




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2. Relief from stay should be granted because (check all that apply): (To be completed by creditor)
    x Lack of adequate protection because of failure to make sufficient adequate protection payments and lack of a sufficient
      equity cushion.
    x Lack of insurance on collateral.
      No equity in the collateral and the property is not necessary for an effective reorganization.
      Failure of debtor to make Chapter 13 plan payments to the trustee.
      Failure of debtor to make direct payments to secured creditor as required by Chapter 13 plan.
      Other (describe):




RESPONSE (Specify why relief from stay should be denied. If respondent proposes to cure a postpetition default, detail the
cure by attaching a proposed order using Local Form (LBF) 720.90 available at www.orb.uscourts.gov under Forms/Local
Forms) (to be completed by respondent):




3. Background (To be completed by creditor)

    a. Date petition filed:   10/29/18 Current Chapter:         7   (7 or 13)
       If 13, current plan date                 Confirmed:       Yes    No
       If 13, treatment of creditor’s prepetition claim(s) in plan:



      If 7, debtor   has     has not stated on Local Form (LBF) 521 or 521.05 that debtor intends to surrender the collateral.

    b. Creditor has a lien on the collateral by virtue of (check all applicable sections and also see ¶6 below):
          Security agreement, trust deed or land sale contract dated         05/07/07 , and, if applicable, an assignment of said
          interest to creditor. The security interest was perfected as required by applicable law on        05/15/07    .
          Retail installment contract dated                  , and, if applicable, an assignment of said interest to creditor. The
          security interest was perfected on the certificate of title on                .
          Other (describe):




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




4. Request for Relief from Codebtor Stay (Only Chapter 13)
   a.                               , whose address is
                              is a codebtor on the obligation described above, but is not a debtor in this bankruptcy.

    b. Creditor should be granted relief from the codebtor stay because (check all applicable boxes):    codebtor received
        the consideration for the claim held by creditor,    debtor’s plan does not propose to pay creditor’s claim in full,
           creditor’s interest would be irreparably harmed by continuation of the codebtor stay as a result of the default(s)
       described above and/or       because:




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RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




5. Other Pertinent Information (To be completed by creditor, if applicable):
Debtor has failed to make payments on the property for 8 years and creditor has been forced to pay taxes, insurance and
other property protection fees, in addition to incurring thousands of dollars of attorneys fees while she has collected rent on
the property which is not her residence. Debtor's non-residential property is not exempt. Debtor undertood a quixotic
campaign to prevent the foreclosure of the residence, asserting a number of bizarre and factually inapplicable defenses. On
April 11, 2017, the Deschutes County Circuit Court granted PennyMac's Motion for Summary Judgment and entered the
Judgment of foreclosure on April 30, 2018. The Debtor filed bankruptcy the day before the Sheriff's sale, which is nothing
more than a stall tactic.




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




6. Relief Requested (check all applicable sections): (To be completed by creditor)

       Creditor requests relief from the automatic stay to allow it to foreclose its lien on the above identified collateral, and,
       if necessary, to take appropriate action to obtain possession of the collateral.

       Creditor has a security interest in real property and requests relief from stay with respect to an act against such property
       and that the relief be binding in any other bankruptcy case purporting to affect such real property filed not later than 2
       years after the date of the entry of an order granting this motion. (If you check this box, you must complete ¶5 above
       to support this request. If you do not do so, the Court will not grant relief binding in any other bankruptcy case.)

       Creditor requests that the 14-day stay provided by FRBP 4001(a)(3) be waived based on the following cause:


       Other (describe and explain cause):
Debtor is not present in the United States, is not insuring or maintaining the collateral and such non-maintenance reduces the
value of the property on a daily basis.




RESPONSE (Identify any disputed items and specify the pertinent facts. If respondent agrees to some relief, attach a proposed
order using Local Form (LBF) 720.90 available at www.orb.uscourts.gov under Forms/Local Forms) (to be completed by
respondent):




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7. Documents:

    If creditor claims to be secured in ¶3.b. above creditor has attached to and filed with this motion a copy of the
    documents creating and perfecting the security interest, if not previously attached to a proof of claim.
           See attached Judgment of Foreclosure and Supplemental Judgment
    If this case is a Chapter 13 case and the collateral as to which creditor seeks stay relief is real property, creditor
    has attached to and filed with this motion a postpetition payment history current to a date not more than 30 days before
    this motion is filed, showing for each payment the amount due, the date the payment was received, the amount of the
    payment, and how creditor applied the payment.

RESPONDENT requests creditor provide Respondent with the following document(s), if any marked, which are pertinent
to this response:
    Postpetition payment history if not required above.
    Documents establishing that creditor owns the debt described in ¶1 or is otherwise a proper party to bring this motion.
    Other document(s) (specific description):




CREDITOR/ATTORNEY                                                 RESPONDENT DEBTOR/ATTORNEY (by signing, the
                                                                  respondent also certifies that [s]he has not altered the
                                                                  information completed by creditor)

Signature:__________________________________
           /s/ Craig G. Russillo                                  Signature:__________________________________
Name: Craig G. Russillo                                           Name:
Address: 1211 SW 5th Street, 19th Floor                           Address:
Portland, OR 97204
Email Address: crussillo@schwabe.com                              Email Address:
Phone No: 503.222.9981                                            Phone No:
OSB#:     973875                                                  OSB#:



                                                                  RESPONDENT CODEBTOR/ATTORNEY (by signing,
                                                                  the respondent also certifies that [s]he has not altered
                                                                  the information completed by creditor)

                                                                  Signature:__________________________________
                                                                  Name:
                                                                  Address:

                                                                  Email Address:
                                                                  Phone No:
                                                                  OSB#:




YOU ARE HEREBY NOTIFIED THAT THE CREDITOR IS ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
OBTAINED WILL BE USED FOR THAT PURPOSE.

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EXHIBIT 1 - GENERAL JUDGMENT




     Case 18-33749-pcm7   Doc 36   Filed 02/28/19
                                                  13CV0492




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  4                         IN THE CIRCUIT COURT OF THE STATE OF OREGON
  5                                      FOR THE COUNTY OF DESCHUTES
  6 PENNYMAC CORP.,

  7                         Plaintiff,                 No. 13CV0492
  8            vs.
                                                       GENERAL JUDGMENT OF FORECLOSURE
  9 JENNIFER R. RAMOS aka Jennifer Renae
    Ramos; JEFF E. RAMOS aka Jeffrey Edward
 10 Ramos; TRINITY FINANCIAL SERVICES,
    LLC; PNC NATIONAL ASSOCIATION,
 11 SUCCESSOR BY MERGER TO
    NATIONAL CITY BANK; RIVER
 12 CANYON ESTATES HOMEOWNERS’
    ASSOCIATION, INC.; RAY KLEIN INC.
 13 DBA PROFESSIONAL CREDIT
    SERVICES; COULTER SUBDIVISION
 14 HOMEOWNERS; NATIONSTAR
    MORTGAGE, LLC; and OCCUPANTS OF
 15 THE PREMISES,

 16                         Defendants.
 17

 18            Based upon (1) the Order Granting Plaintiff’s Amended Motion for Summary Judgment
 19 against defendant Jennifer Ramos; (2) the Orders of Default against Defendants Jeff E. Ramos,

 20 Trinity Financial Services, LLC, PNC National Association, River Canyon Estates Homeowners’

 21 Association, Inc., Ray Klein, Inc., Coulter Subdivision Homeowners, and Occupants of the

 22 Premises; and, (3) the Stipulation for Entry of Limited Judgment against Nationstar Mortgage,

 23 LLC, and the files and records herein,

 24            IT IS HEREBY ORDERED, ADJUDGED, AND DECLARED that Plaintiff shall have
 25 judgment as follows:

 26

                                                                                SCHWABE, WILLIAMSON & WYATT, P.C.
Page 1 -     GENERAL JUDGMENT OF FORECLOSURE                                              Attorneys at Law
                                                                                    1211 SW 5th Ave., Suite 1900
                                                                                        Portland, OR 97204
                                                                                      Telephone: 503.222.9981

      PDX\129707\214088\CGR\22724925.4
                                Case 18-33749-pcm7    Doc 36   Filed 02/28/19
  1            1.       The Deed of Trust granted by Jennifer Ramos and Jeffrey Ramos, as grantors, to
  2 Deschutes County Title Company as trustee, for the benefit of Mortgage Electronic Registration

  3 Systems, Inc., solely as nominee for Sierra Pacific Mortgage Company, Inc. (“Sierra Pacific”), as

  4 beneficiary, recorded on May 15, 2007, as Document No. 2007-27743, in the official records of

  5 Deschutes County, Oregon (the “Trust Deed”), is a first, valid, prior subsisting lien against real

  6 property (the “Property”) commonly known as 19560 Hollygrape Street, Bend, OR and legally

  7 described as follows:

  8
                        Lot Thirty-Three of River Canyon Estates, City of Bend,
  9                     Deschutes County, Oregon
 10                     The Real Property or its address is commonly known as 19560
                        Hollygrape Street, Bend, OR 97702. The Real Property tax
 11                     identification number is Account No.: R208923, Map No.:
                        181113AA00700.
 12

 13 The Trust Deed secures payment of a Note that Jeffrey and Jennifer Ramos executed and

 14 delivered to Sierra Pacific. Plaintiff is the current holder of the Note;

 15            2.       The lien of the Trust Deed is prior and superior to any right, title, interest, lien or
 16 claim of defendants, or any party claiming by through or under any defendant, to the Property;

 17            3.       The amount of debt declared due to Plaintiff and that secures the lien of the Trust
 18 Deed is as follows: principal of $727,783.18; plus accrued interest of $254,853.06, through

 19 January 31, 2018; plus interest accruing thereafter at the rate of 6.750% per annum until date of

 20 entry of judgment; plus late fees of $1,637.52, escrow advance fees of $94,431.99, property

 21 preservation fees of $1,031.50, and BPO/appraisal fees of $156.00. As of January 31, 2018, the

 22 total amount due was $1,079,893.25, plus Plaintiff’s reasonable attorney fees and costs and

 23 disbursements incurred in connection with enforcing its rights and remedies under the Adjustable

 24 Rate Note, Modification Agreement, and Trust Deed with interest thereon at the statutory rate of

 25 nine percent (9%) per annum from the date of entry of judgment, until paid;

 26

                                                                                          SCHWABE, WILLIAMSON & WYATT, P.C.
Page 2 -     GENERAL JUDGMENT OF FORECLOSURE                                                        Attorneys at Law
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                                Case 18-33749-pcm7          Doc 36     Filed 02/28/19
  1            4.       The lien of the Trust Deed shall be foreclosed and the Property shall be sold by
  2 the Sheriff of Deschutes County in the manner prescribed by law and in accordance with the

  3 practice of this Court to satisfy of the amounts due to Plaintiff, as set forth in paragraphs 3, 8,

  4 and 9. The proceeds derived from the sale of the Property shall be applied first towards the costs

  5 of sale and then towards satisfaction of the amounts declared to be due to Plaintiff. The balance,

  6 if any, shall be distributed to any such party or parties that may establish their rights thereto;

  7            5.       Defendants, and all persons claiming by, through, or under them, whether as
  8 purchasers, encumbrancers, or otherwise, are barred and foreclosed of all right, title, estate,

  9 claim, or interest of every kind and nature in and to the Property, and every part and parcel

 10 thereof, including the tenements, appurtenances, and fixtures, if any, thereunto belonging or

 11 appertaining, save only such statutory right of redemption as they may have in and to the

 12 Property;

 13            6.       Plaintiff may become a purchaser of the Property, or any part of parts thereof, at
 14 said sale; Plaintiff may credit bid up to the aggregate amount set forth in paragraphs 3, 8, and 9

 15 without advancing any cash; upon the sale, the purchaser or purchasers of the Property shall be

 16 entitled to immediate possession of the Property, and if any person or persons in possession shall

 17 refuse to surrender possession to the purchaser or purchasers upon confirmation of said sale and

 18 demand for possession, such purchaser or purchasers shall have the benefits of such remedies as

 19 the law may afford to secure such possession, including the extraordinary writ of assistance;

 20            7.       Defendant Jennifer Ramos’ Counterclaim is dismissed with prejudice;
 21            8.       Plaintiff is the prevailing party and is awarded its attorney fees and cost, to be
 22 determined under ORCP 68; and

 23 / / /

 24 / / /

 25 / / /

 26 / / /

                                                                                        SCHWABE, WILLIAMSON & WYATT, P.C.
Page 3 -     GENERAL JUDGMENT OF FORECLOSURE                                                      Attorneys at Law
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  1            9.       Plaintiff is awarded a prevailing party fee of $85 under ORS 20.190(1)(b)(A).
  2
                                                                   Signed: 4/30/2018 02:09 PM
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  8 SUBMITTED BY:

  9 SCHWABE, WILLIAMSON & WYATT, P.C.

 10

 11 By: s/ Craig G. Russillo
        Craig G. Russillo, OSB #973875
 12     crussillo@schwabe.com
        Anna Helton, OSB #054424
 13     ahelton@schwabe.com
        David A. Anderson, OSB #092707
 14     danderson@schwabe.com
        Telephone: (503) 222-9981
 15     Of Attorneys for Plaintiff
 16

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                                                                                                SCHWABE, WILLIAMSON & WYATT, P.C.
Page 4 -     GENERAL JUDGMENT OF FORECLOSURE                                                              Attorneys at Law
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EXHIBIT 2 - SUPPLEMENTAL
       JUDGMENT




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                                                  13CV0492




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  4                         IN THE CIRCUIT COURT OF THE STATE OF OREGON
  5                                      FOR THE COUNTY OF DESCHUTES
  6 PENNYMAC CORP.,

  7                         Plaintiff,                  No. 13CV0492
  8           vs.
                                                        SUPPLEMENTAL GENERAL JUDGMENT
  9 JENNIFER R. RAMOS aka Jennifer Renae
    Ramos; JEFF E. RAMOS aka Jeffrey Edward
 10 Ramos; TRINITY FINANCIAL SERVICES,
    LLC; PNC NATIONAL ASSOCIATION,
 11 SUCCESSOR BY MERGER TO
    NATIONAL CITY BANK; RIVER
 12 CANYON ESTATES HOMEOWNERS’
    ASSOCIATION, INC.; RAY KLEIN INC.
 13 DBA PROFESSIONAL CREDIT
    SERVICES; COULTER SUBDIVISION
 14 HOMEOWNERS; NATIONSTAR
    MORTGAGE, LLC; and OCCUPANTS OF
 15 THE PREMISES,

 16                         Defendants.
 17

 18           This matter having come before the Court for consideration of Plaintiff’s Statement of
 19 Attorney Fees, Costs, and Litigation Expenses, the Court having received no objections, and the

 20 Court having reviewed the materials submitted and being fully advised in the premises, now

 21 therefore,

 22           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Plaintiff is awarded
 23 $244,573.26 for reasonable and necessary attorney fees, litigation expenses, costs and

 24 disbursements, and the prevailing party fee, plus interest accruing on that amount at the rate of

 25 9% per annum from date of entry of judgment until fully paid. The amount awarded to Plaintiff

 26 in this supplemental judgment is a debt declared due to Plaintiff that is a part of the debt secured

                                                                                   SCHWABE, WILLIAMSON & WYATT, P.C.
Page 1 -     SUPPLEMENTAL GENERAL JUDGMENT                                                   Attorneys at Law
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  1 by the lien of the Trust Deed that is the subject of the General Judgment of Foreclosure entered

  2 in this case.

  3

  4
                                                                Signed: 6/6/2018 11:42 AM
  5

  6

  7

  8

  9 SUBMITTED BY:

 10 SCHWABE, WILLIAMSON & WYATT, P.C.

 11

 12 By: s/ Anna Helton
        Craig G. Russillo, OSB #973875
 13     crussillo@schwabe.com
        Anna Helton, OSB #054424
 14     ahelton@schwabe.com
        David A. Anderson, OSB #092707
 15     danderson@schwabe.com
        Telephone: (503) 222-9981
 16     Of Attorneys for Plaintiff
 17

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                                                                                            SCHWABE, WILLIAMSON & WYATT, P.C.
Page 2 -     SUPPLEMENTAL GENERAL JUDGMENT                                                            Attorneys at Law
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